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            EXHIBIT C
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Casale, David A.

From:                             Quist, Mark D.
Sent:                             Tuesday, February 21, 2023 3:19 PM
To:                               nobetzo@gmail.com; Casale, David A.
Subject:                          RE: LOCAL RULE 7(m) CERTIFICATION DUTY TO CONFER ON NONDISPOSITIVE
                                  MOTIONS_REQUESTING YOUR CONSENT OR OBJECTION_ TO THE PROPOSED
                                  CONSENT MOTION FOR LEAVE TO FILE A THIRD AMENDED COMPLAINT



Mr. Betz, as my colleague Mr. Casale informed you after you sought leave to file a second amended
complaint, we object to any further amendments. Please inform the court that we do not consent.

Mark D. Quist

From: Na'eem Omar Betz <nobetzo@gmail.com>
Sent: Feb 21, 2023 3:04 PM
To: "Quist, Mark D." <MQuist@reedsmith.com>; "Casale, David A." <DCasale@reedsmith.com>
Subject: LOCAL RULE 7(m) CERTIFICATION DUTY TO CONFER ON NONDISPOSITIVE
MOTIONS_REQUESTING YOUR CONSENT OR OBJECTION_ TO THE PROPOSED CONSENT
MOTION FOR LEAVE TO FILE A THIRD AMENDED COMPLAINT

EXTERNAL E-MAIL - From nobetzo@gmail.com



D.C. LAWYER’S RULES OF PROFESSIONAL CONDUCT:

Rule 3.2--Expediting Litigation

Rule 3.4--Fairness to Opposing Party and Counsel

Rule 4.1--Truthfulness in Statements to Others.

Rule 4.3--Dealing With Unrepresented Persons Other Than Clients
Rule 4.4--Respect for Rights of Third Persons

Rule 5.5--Unauthorized Practice

Rule 7.1--Communications Concerning a Lawyer's Services

Rule 8.3--Reporting Professional Misconduct

Rule 8.4--Misconduct

Rule 8.5--Disciplinary Authority; Choice of Law
                                                       1
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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA_ CASE:1:22-cv-
02235-JEB_BETZ v. SYNCHRONY BANK et al.

Good Afternoon,

David Casale

Senior Staff Attorney / Pro Hac Vice

Mark D. Quist (D.C. Bar No. 1552500)

Plaintiff requests your consent to the proposed consent motion for leave to file a third amended complaint....
Please let me know if you agree to the filing of the third amended complaint.

Thank you for your time and consideration...

Sincerely
Na'eem Omar Betz
Consumer / Plaintiff
ALL RIGHTS RESERVED
28 U.S.C. § 1746 - 15 U.S.C. § 7001(a)(1)(2)
18 U.S.C. § 242 - Deprivation of Rights Under Color of Law

18 U.S.C § 241 - Conspiracy Against Rights
42 U.S.C. § 1983 - Civil Action For Deprivation Of Rights

ELECTRONIC COMMUNICATIONS PRIVACY ACT, 18 U.S.C. §§ 2510-2521
PRIVATE: THIS IS NOT A PUBLIC NOTICE OR PUBLIC COMMUNICATION

Notice to Principal is Notice to Agent / Notice to Agent is Notice to Principal

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2510-2521, and is for the sole use of the intended recipient and contains privileged and/or confidential information. To all
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your firm and binding contract between you and me, one of the People, whereby you have promised to serve, protect, and
defend me, guarantee all of my inalienable rights, and defend the Constitution for the United States of America. Any/all
political, private, or public entities, International, Federal, State, or Local corporate government(s), private International
Organization(s), Municipality(ties), Corporate agent(s), informant(s), investigator(s) et. al., and/or third party(ties) working in
collusion by monitoring My (this email) email(s), and any other means of communication without My express written
permission are barred from any review, use, disclosure, or distribution. With explicit reservation of all My rights, without
prejudice and without recourse to any of My rights. Any omission does not constitute a waiver of any and/or all intellectual
property rights or reserved rights.




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                  Case 1:22-cv-02235-JEB Document 31-3 Filed 03/28/23 Page 4 of 4




External Signed




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